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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR06-425-MJP
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   ANTHONY TANGUMA,                     )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Methamphetamine; Conspiracy to Distribute

15 Heroin; Conspiracy to Distribute Cocaine; Asset Forfeiture Allegation

16 Date of Detention Hearing:     February 6, 2007

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with the above-listed drug offenses.   The maximum

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 penalty of these offenses is in excess of ten years. There is therefore a rebuttable presumption

02 against defendant as to both dangerousness and flight risk, under 18 U.S. C. §3142(e).

03          2.      Defendant has no current ties to this District. He resided in Washington State for

04 approximately 8 years but moved to Porterville, California because, according to his statement to

05 pretrial services, he has no family ties or any other connection to the state. He has a former wife

06 and two children who reside in Washington, with whom he has not had recent contact and has no

07 contact with other family members who still reside in Washington, including his mother and half-

08 brothers. His ties to California are limited to a short-term relationship with an individual with

09 whom he has been living for several months. The defendant does not have a regular work history

10 and has no reported income.

11          3.      Taken as a whole, the record does not effectively rebut the presumption that no

12 condition or combination of conditions will reasonably assure the appearance of the defendant as

13 required and the safety of the community.

14 It is therefore ORDERED:

15          (1)     Defendant shall be detained pending trial and committed to the custody of the

16                  Attorney General for confinement in a correction facility separate, to the extent

17                  practicable, from persons awaiting or serving sentences or being held in custody

18                  pending appeal;

19          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

20                  counsel;

21          (3)     On order of a court of the United States or on request of an attorney for the

22                  Government, the person in charge of the corrections facility in which defendant is

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01                confined shall deliver the defendant to a United States Marshal for the purpose of

02                an appearance in connection with a court proceeding; and

03         (4)    The clerk shall direct copies of this Order to counsel for the United States, to

04                counsel for the defendant, to the United States Marshal, and to the United States

05                Pretrial Services Officer.

06         DATED this 6th day of February , 2007.



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08                                              Mary Alice Theiler
                                                United States Magistrate Judge
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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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